         Case 4:20-cv-02058-ACA                  Document 354-4              Filed 03/03/25        Page 1 of 15                    FILED
                                                                                                                        2025 Mar-03 PM 09:31
                                                                                                                        PageU.S.
                                                                                                                             1c4 15DISTRICT COURT
                                                                                         A000 Institutional Vulnerability AnalysisN.D. OF ALABAMA
                                           Alabama Department of Corrections
                                            Institutional Vulnerability Analysis

                                                  St. Clair Correctional Facility
                                                         Institution Name

          Date:   February 24,, 2015


          DOCUMENT PURPOSE

             •    To promote sensitivity to potential threats which could compromise the safe and secure operation of
                  institutions within the Alabama Department of corrections.

             •    To provide asense of what threats require the prioritized appropriation of agency resources

             •    To assess current institutional preparedness

             •    To reduce identified vulnerability(ies) to an acceptable level


             •    To provide guidance as the emergency preparedness process evolves


             •    To aid ADOC staff in establishing documents, training, exercising, and review of policy at the agency
                  and institutional level, including consistency across institutions and divisions of the agency


         DOCUMENT USE:

         This document relies upon the honest, subjective, but educated, decisions of an institution's' management
         team. It is not meant to, nor can it, address all information regarding risk factors and assessment. It should
         promote thought-provoking discussion and perhaps generate additional factors, which warrant review and
         consideration. Some words or phrases such as immediate vicinity are purposely not defined, as it is the
         institution's challenge to identify vulnerability(ies) in relation to the institution and community. If is best
         completed in a group setting that includes the facility management and staff with institutional and community
         involvement. As the team proceeds through the document, the answers to each section should guide the
         responses to the subsequent sections.

         This assessment tool is meant to be a dynamic and evolving tool, which is reflective of the Alabama
         Department of Corrections. If your discussion provides additional factors worthy of consideration, enter them
         directly on the form. Use additional pages as necessary to fully explain and evaluate the issues. This form shall
         become a historical reference in order to document each year's activities and process.

         The completed document will assist each institution in ensuring that it is prepared for an emergency situation.
         The results will provide direction for long term planning.


         This process will be completed annually. A copy of this risk assessment shall be forwarded to the Associate
         Commissioner-Operations no later than the last day in April each year. Major changes that impact the
         institution shall necessitate a new assessment earlier than the annual interval.




                                                                                                                                   4.
                                                                                                                 EXHIBIT

                                                                                                                    1-
                                                           1
                                                                                                                                   4

HIGHLY CONFIDENT[AL     -   ATTORNEYS' EYES ONLY                                                        ADOC(DOJ)-TP-0000243
         Case 4:20-cv-02058-ACA                 Document 354-4                 Filed 03/03/25          Page 2 of 15

                                                                                            A000 Institutional vutnereb4lity Analysis



                                                           SECTION I

                                            INSTITUTIONAL OVERVIEW


         Transportation Networks:


                                Transportation System                               Proximity to the Institution
         Airport Birminliam-ShuttIesworth International Airport                    35 miles
         Interstate/ Major Highway Interstate 59                                   7miles
         Railroad                                                                  7miles
         Other:




         Community Support Services:


                      service                   Proximity to the Institution             Response Time
         Ambulance                                       18 miles                          15 minutes
         Fire Department                                 IC miles                          10 minutes
         Hospjt                                           9miles                           40 min utes
         Law Enforcement with
         Jurisdiction: Springville PD
                                                        5minutes                            5minutes
         Other Law Enforcement:
         Odenville
                                                         10 miles                           10 minutes
         Comments:




         There is increased potential of risk due to the institution's proximity to the following
         facilities:

                                         Risk                                      Proximity to the Institution
         Major Gas or Pipelines                                                               None
         Nuclear Power plant or other power facility                                          None
         Darn                                                                                 None
         Business or Industry wfpotential for accidents which could                           None
         contaminate air, water, or ground:

         Other:                                                                               None




                                                           2


HIGHLY CONFIDENTIAL     -   ATTORNEYS' EYES ONLY                                                             ADOC( DOJ)-TP-000024.4
         Case 4:20-cv-02058-ACA                    Document 354-4                     Filed 03/03/25          Page 3 of 15

                                                                                                                                      Jce 15
                                                                                                  ADOC Institutional Vulnerability Analysis

                                                INSTITUTIONAL OVERVIEW


         There is an increased risk due to past weather patterns at the institution's location:


                             Weather Pattern                                     Past History (Yes or No)
         Blizzards                                               NO
         Hurricanes                                              NO
         Hail Storms                                            INO
         Electrical Storms                                      FNO
         Heavy Fog                                               YES
         Extreme Winds                                           NO
         Tornadoes                                               YES
         Rain Storms with resulting flooding                    PNO
         Temperature extremes                                   IHigh:          YES                Low: NO
         Other:




         The institution has experienced the following in the past year:


                                       Situation                                              f      Yes or No
         a. Turnover or core management team members                                                     NO
         b. Change in IrisIllullonal Progranilmission                                                    NO
         c. Significant population increase over 10%                                                     NO
         ci, Major Remodeling! new Construction                                                          NO
         e. Dramatic Change in nature of population                                                      NO
         Explanations:




         Potentially damaging litigation       list each cneWth tie   ):   No




         Other Risk Factors: N/A




         Update of Security Equipment /or Security Systems included in recent changes): N/A




         Proposed policy changes that may impact the Institutional Operations and/or inmate population: NM




                                                               3


HIGHLY CONFIDENTIAL      -   ATTORNEYS' EYES ONLY                                                                  ADOC(DOJ)-TP-0000245
         Case 4:20-cv-02058-ACA                     Document 354-4               Filed 03/03/25                  Page 4 of 15

                                                                                                                                             15
                                                                                                      ADOC Institutional Vulnerability Analysis

                                                     SECTION II
                                        Factors which may affect vulnerability
          PHYSICAL PLANT:
          Age                                  Yes or No    Location                                         IYes or No
          Facility over 20 years old           YES          In approach or takeoff flight pattern                NO
          10 to 20 years old                   NO           In wooded area                                   iYES
          5to 10 years old                     NO           On or near earthquake fault line                 rNO
          Less than 5years old                 NO           In aflood plain                                  INO
          Design                                            Residential area                                     NO
          Campus style                         YES          Other (specify)                                  IN/A
                                               NO           Rural;                                            IYES
                                                            WltSn 15 ni,riutes or population cantor
         Self contained buildings                           Within 30 minutes or population center           I
         Modular units                         NO           Perimeter
         Original Design                                    Armed Perimeter                                  IYES
         A non correctional public             NO           Building Serves as Perimeter                     INO
         facility
         Is currently used as designed         YES          Double Fence                                         YES
         Was designed for different            NO                                                            iNO
         custody level                                      Canine Patrol
         Institutional Access                              PMobile Patrol (as needed)                        1YES
         Access around perimeter is            NO                                                                YES
         controlled                                         Motion Detection                                 I

         Access into institution is            YES                                                               YES
         controlled                                         Lethal Fence
         Access within the perimeter is        YES                                                               NO
         controlled                                         Stun Fence
         Control Center is secured             YES          No Fence                                         INO
         Oilier (specify)                      N/A          Single Fence                                         NO
                                               NO           Towers                                           IYES
         Livi ng                                            Well Lighted                                         YES?)
         Dormitory                             NO           Visibility restriction is common                     NO
         Single/double                         YES          Support Buildings
         Combination Dormitory/                NO                                                            INO
         Cell                                               Construction Primarily Flammable
         Construction Primarily                NO           Construction Primarily Non                       1YES
         Flammable                                          Flammable
         Construction Primarily Non            YES                                                               YES
         Flammable                                          Equipped Auto Sprinklers
         Equipped With Sprinklers              YES          Equipped with working fire alarm                 INO
         Flammables stored according                                                                         INO
         to state rules and ACA                             Flammables stored according to
         guidelines                                         state rules and ACA guidelines                   I
         Fire Hydrants

                                   # outside   3
                                    4 inside   S

         Required Inspections                                                                                   Dates
         Fire Marshal;                                                                                       i712011
         Deficiencies Corrected YES
         Health Department:         Lest score 90                                                            I7/9/14
         Deficiencies Corrected;      in the process 01 being corrected
         Monthly Safety & Sanitation Inspections Completed                                                   iYes

         Physical Plant (overall narrative)

                                                            4



HIGHLY CONFIDENTIAL         -   ATTORNEYS' EYES ONL\                                                                   ADOC(DOJ )-TP-0000246
         Case 4:20-cv-02058-ACA                 Document 354-4           Filed 03/03/25         Page 5 of 15

                                                                                                                       50 13
                                                                                   AOOC Institutional Vulnerability Analysis


                                                 INMATE POPULATION




                                              Capacity                                      #or %
         What is the deskjned capacity?                                              984
         What is the operational capacity?                                           1322
         % over or under design capacity as of the date or this report               I
                                                                                     34.3%
         Average daily inmate count                                                  1300
         Other:

                                          Inmate Programs                                  Yes or No
         Education                                                                           YES
         Inmate Clubs                                                                         NO
         Furloughs and Passes                                                                 NO
         Formal recreation                                                                   YES
         Informal recreation                                                                 YES
         Religious Activities                                                                YES
         Self Help Groups                                                            I       YES
         Substance Abuse                                                                     YES
         Therapeutic                                                                         YES
                                             Inmate Jobs                                   Yes or No
         Correctional Industries                                                             YES
         Farm                                                                         -      NO
         Inside Labor detail                                                                 YES
         Maintenance                                                                         YES
         Outside Labor detail                                                                YES
         Special Projects:
         Other

                        Breakdown of Facility by Race
         Caucasian                                                        415                   32%
         Hispanic                                                         0
         Native American                                                  0
         Southeast Asian                                                  0
         Black                                                            874                   68%
         Other:                                                         1                        .07
                                                                Total 1290
                    Inmate Population Comprised of: (check all that apply)                 Yes or No
         Administrative Segregation                                                  YES
         Maximum custody or Close custody                                            I
                                                                                     YES
         Medium custody                                                              YES
         Minimum custody (Level II)                                                  YES
         Minimum custody (Level IV)                                                  YES
         Community custody                                                           YES
         HIV                                                                         YES
         Protective custody                                                          NO
         Death Row                                                                        NO
         Male                   -     -
                                                                                          YES
         Female                                                                           NO
         Reception                                                                        NO

                                                           5


HIGHLY CONFIDENTIAL     -   ATTORNEYS' EYES ONLY                                                       ADOC(DOJ)-TP-0000247
         Case 4:20-cv-02058-ACA                Document 354-4             Filed 03/03/25           Page 6 of 15

                                                                                        ADOC Institutional Vulnerability Analysis




                                       Inmates Group by:                                       Yes or No
         According to age                                                                    NO
         Along racial lines                                                                  I
                                                                                             NO
         Security Threat Groups                                                              I
                                                                                             NO
         Number of confirmed Secuy Threat Group members                                      NO
         Other (list):




                      Illegal/Unauthorized Activities (Use annual figures
                                                     Total #ot major disciplinary reports
                                                     Total # of minor disciplinary reports
                                                                              #for Drugs
                                                                          # for Weapons
                                                           #for Disrespect towards staff
                                                                        # for Contraband
                                                                          #for Gambling
                           #Possession of cellular phone or other communication device



                                            Use of Force
         Number of use of force incidents

                                            Drug Usage
                                                          Random Screening % Positive
                                                          Intensive Screening % Positive            N/A
         What do you consider the level of drug usage to be in your facility? (Please
         explain why?) Circle one: Extensive      Moderate      Limited



                                         Extensive—
         Drugs are readily available due to ahigh number of items thrown over the
         fences and based upon the number of positive drug test and the amount
         and variety of illegal substances confiscated.




                                      # of K-9 Drug Alerts
                                                                                Visitors             C
                                                                                Inmates              0
                                                                                   Staff             0
                                                       Contract employees or Volunteers I            0




                                                           6



HIGHLY CONFIDENTtAL     -   ATTORNEYS' EYES ONLY                                                          ADOC(DOJ)-TP-0000248
              Case 4:20-cv-02058-ACA                     Document 354-4       Filed 03/03/25                Page 7 of 15

                                                                                                                                 Pare & IS
                                                                                                 ADOC Institutional Vulnerability Analysis




                                       INMATE-STAFF ASSAULTS WITHOUT SERIOUS INJURY
         A. Assaulted with Weapon (specify weapon used)                                      0

        [.     Assaulted by Hithng with KandrCckinWSiapping

         C. Assaulted by                                                                    45

        D, Assaulted by Water, Tea, Coffee, Food Urine. Feces

        F      being Thrown or Spit Upon                                                    20

        IL. Assaulted by Thrown Oees (ether than items listed above)                         0

               Assaulted by Choking                                                          0

               Assaulted by Siting                                                           0

               Assaulted by Grabbing                                                         0

        {l.    Attempts to Assault                                                           0

        J.     Verbal Threats to Assault                                                    30

        K.     FighliAltercations                                                            0
                  Number of Incidents
                  Number of Inmates Involved

        IL.    Alleged Assaults                                                              0

        M. Other (specily nature of assault)                                                 0



                                           INMATE-STAFF ASSAULTS WITH SERIOUS INJURY
              .Assaulted with Weapon (specify weapon used)                IOfficer Assaulted with baton taken by inmate

        8. Assaulted by Hitting with Fandrkicklnfllapptng

        0 Assaulted by Ptisiing/ShovingrRamming:8ulting'Lung,ng                                  0

        tO. Assaulted by Water, Tea, Coffee, Food, Urine, Feces                                  0
               being Thrown or Spit Upon

        IE, Assaulted by Thrown 0ec*s (other than nrms listed above)                             0

        [F. Assaulted by Choking                                                                 0

        G. Assaulted by Biting                                                                   0

         -l. Assaulted by Grabbing                                                               0

        H. Assaulted by Other (speclly)                                                          0




                                                                   7



HIGHLY CONFIDENTIAL               -   ATTORNEYS' EYES ONLY                                                        ADOC'(DOJ)-TP-0000249
             Case 4:20-cv-02058-ACA                         Document 354-4       Filed 03/03/25            Page 8 of 15

                                                                                                                                Ps;e)c15
                                                                                                ADOC Institutional Vulnerability Analysis




                                      INMATE-INMATE ASSAULTS WITHOUT SERIOUS INJURY
        IA. Assaulted with Weapon (specify weapon used)                                I? (knife];

        [B    Assauiteu by Hitting with HandKuckingiSlapping                               34

              Assaulted by Pushir/ShovinRammingSLqting/Lurçb,g                             0

        t. Assaulted by Water, Tea, Coffee, Food, Urine. Feces
              being Thrown or Spit Upon                                                    0

        E. Assaulled by Thrown ON eels (other than items listed above)                     0

        IF. Assaulted by Choking                                                           0

        Ic. Assauaed by Biting                                                             a

        F-I, Assaulted by Grabbing                                                         0

        1.    Attempts to Assault                                                          0

        J,    Verbal Threats to Assault                                                    0

              Alleged Assaults                                                             0

        iM. Other (specify nature of assaull)                                              0




                                       INMATE-INMATE ASSAULTS WITH SERIOUS INJURY
        IA, Assaulted with Weapon (specify weapon used)                                S(Knife)

        S.    Assaulted by Hilling with FtafKVKicking/Slapping                              0

        C. Assaulted by Pushing/ShovingRamrniag,Bulting!Lunging                             0

        [p. Assaulted by Water, Tea, Coffee, Food, Urine. Feces
              being Thrown or Spit Upon                                                     o
        IE. Assaulted by Thrown Oects (other man items listed above)                        0

        IF   Assaulted by Choking                                                           0

        Ic. Assaulted by Biting                                                             0

        H. Assaulted by Grabbing                                                            0

        k-i. Assaulted by other means (specIfy)                                             0




                                                                         STAFF

                   Institution is Staffed according to identftied needs in these areas                  Yes or No
             Administrative                                                                          IYES
             Education                                                                                YES
             Food Service                                                                             YES
             Maintenance                                                                              YES
             Health Services                                                                         (YES
             Mental Health                                                                            YES
             Custody                                                                                  N/A
             Unit Management                                                                          N/A
             Special Projects                                                                         N/A
             Industry                                                                                 YES
             Emergency Preparedness                                                                   NIA
             Other (specify):




HIGHLY CONFIDENTIAL              -   ATTORNEYS' EYES ONLY                                                        ADOC(DOJ)-TP-0000250
         Case 4:20-cv-02058-ACA                    Document 354-4           Filed 03/03/25            Page 9 of 15

                                                                                                                                  is
                                                                                           ADOC Jnstitufipnat Vulnerability Analysis


                                     Staff Organizations /Programs                                Yes or No
          Staff trust and use the employee assistance program                                  I
                                                                                               YES
          The institution has acredible employee 1ec09n1ti0n program                           NO
         -The   institution base viable program for staff input        -                       NO
          Other (specify)                                                                      N/A

                                              Staff Training                                      Yes or No
         Meets facility needs                                                                  YES
         Staff training increased from last year                                               YES
         Staff training decreased from last year                                               NO
          Included identification and care of mental health inmates                            YES
          Includes Problem Resolution                                                          I
                                                                                               NO
         Includes Use of Force                                                                 YES
         Additional training that should be provided:

         Comments:



                                                        Staff Issues
         Staff Morale i           Please explain your reasoning:

         Good ;-
         Fair X
         Low     []

                                          Staff Issues                                          Response
         Recent staff investigations have been divisive                        yes or no
         Explain how if yes:



                                                                                                     NO
         How many work-place harassment claims have been fi l     ed in the last year?
         What is the average sick leave usage?                                            (
         Staff turnover is           %   47 turnovers from 2014 to 2015                             10%
         # of on-the-job injury claims filed                                              I          68
         Institution emoys the followirigi number of staff
                                                                           Administration 1           27
                                                                             Maintenance I             6
                                            Contracted Medical and Mental Health Services I           57
                                                                                   Security!         202
                                                              Support not identified above I
                                                                                Volunteers 1           1
                                                                                     Other




                                                               9


HIGHLY CONFIDENTIAL         -   ATTORNEYS' EYES ONLY                                                        ADOC(DOJ)-TP-0000251
        Case 4:20-cv-02058-ACA                     Document 354-4           Filed 03/03/25                     Page 10 of 15

                                                                                                                                    Pa 10 d 15
                                                                                                     ADOC In   Utlional Vulnerability Analysis


                                                      PREVENTIVE ISSUES


                                   Communications Equipment                                              Yes or No
          Is adequate for institution size and staffing patterns                                           YES
          Is operational                                                                             I     YES
          Comments:




                                       Emergency Procedures                                              Yes or No
         The inslitullons Management [eels the emergency planning documents are                             yes
         current and address the needs or the institution.
         All staff are familiar with and trained in the institutions emergency procedures                      YES
         Management and the Facility/Program Administrator are confident in the Shift                          YES
         Supervisor's ability and authority to take immediate action to resolve and/or
         mitigate any emergency
         Shift Supervisors are confident in their ability and authority to take immediate                      YES
         action to resolve any emergency.
         Inmates know what to do in an emergency.                                                           YES
         The institution has adequate resources and staff to handle an emergency.                            NO
         The institution has plans for evacuation of a portion of or the entire institution I               YES
         Emergency Preparedness exercise are routine, varied and involve all levels of                     Monthly
         stall.   Exercise are conducted?                        (weei monlhly or quarl.erly)
         comments:



          Institution has first responder system                    response time:                   I         Yes
         Comments:


          InstitutIon has second responders                         response time:                             NO
         Comments:


         Institution utilizes the Critical Incident Stress Mana!piTea!JCl$Mfl                   ..             NO
         Comments:

          Institution has Crisis Negotiation Team                   response time                              NO
         comme:


          Institution has Correctional Emergency Response Team       response time:                  f         NO
         Comments:


          Institution has Special Operations Response Team           response time:                            NO
         Comments;                                                                                   I




                                           Evacuation                                          Yes or No
         Institution has evacuation plan for every building                                 YES
         Evacuation plans are posted within state guidelines                                YES
         Staff and inmates are trained in evacuation procedures                             YES
         @•ulqLnq evacuation drills are conducted.                       monihi yorqrieriyilv1onth'


                                            Staff Response                                           I Yes or No
         There is aviable recall plan in effect                                                      IYES
         TheL
         _   aajRrLty of instituti onal staff live within 1hour of the institution                    YES
         A contingency plan exists in the event staff cannot respond due to a lame                    YES
         scale community wide disaster
         Comments:


                                                          10



HIGHLY CONFIDENTIAL       -   ATTORNEYS' EYES ONLY                                                                   ADOC(DOJ)-TP-0000252
        Case 4:20-cv-02058-ACA                  Document 354-4              Filed 03/03/25             Page 11 of 15

                                                                                                                               ii :1 is
                                                                                            ADOC Institutional Vulnerahility Analysis

                                             HISTORICAL INFORMATION

                                    Assault from the Outside:                                     Yes or No
         Curiosity seeker(s), ex-inmates, visitors have been found in unauthorized
         areas on institution property.                                                            I YES
         Institutional locale makes it vulnerable to approach from avariety of directions            YES
         Comments:



                                        Bomb Threats                                              Yes or No
         Bomb threats in the community are on the rise.                                              NO
         The institution has received bomb threats in the past year                                 YES
         Inmate-made bombs have been discovered in the past year                            F        NO
         Comments:



                                         Inmate Discord
         Inmates sil-downs or work stoppages/slowdowns have occurred in the past
                                                                                            F     Yes or No

         year                                                                               I         YES
         Inmates have increased their use of passive resistance, nonviolent refusals to
         follow direction                                                                             YES
         Individual or group hunger strikes have occurred in the last live years                      NO
         Inmates cite openly that the institution cannot operate without their labor                  YES
         Comments:

                                             Escapes                                              Yes or No
         The institution has had an escape within the past five years                       I       YES
         The nature of the facility and inmate activities lend itself to escapetwalk away
         potential                                                                                     NO
         There are issues which need to be addressed in relation to improving an
         inmates ability to successfully escape                                                        NO
         Comm ents:
         -Last escape involved an inmate on ajob assignment outside the
         perimeter of the facility and was not on the property of the facility (Road
         Squad).




                                           Earthquake                                       I     Yes or No
         Institution or community has experienced an earthquake                                      NO
         The institution has existing earthquake damage                                              NO
         Comments:

                                          Biological Threat                                 I     Yes or No
         The institution is particularly vulnerable to an epidemic or illness due to the
         nature of the institution's population or function within the ADOC                 I          NO
         Steps are taken to reduce the potential for food poisoning due to the large        I
         number of meal(s) prepared in one location                                                   YES
         Comments:

                                             Flood                                          P     Yes or No
         The institution has experienced flooding in the past                                        NO
         Comments:

                                        Group Disturbances                                        Yes or No
         The institution has had more than one group disturbance in the last decade         I       YES
         Stall and inmates still talk about the last "big disturbance"                      I        NO
         Comments: Multiple inmates were involved in the death of apopulation
         inmate.

                               Staff Work Slowdowns /Stoppage                                     Yes or No
         The Institution has experienced widespread labor disputes in the past.                      NO

                                                           11


HIGHLY CONFIDENTIAL      -   ATTORNEYS' EYES ONLY                                                             ADOC(DOJ)-TP-0000253
          Case 4:20-cv-02058-ACA                    Document 354-4              Filed 03/03/25           Page 12 of 15

                                                                                                                                PaD1cU5
                                                                                                ADO   Institutional Vulnerability Analysis
          -                 Staff have voiced threats of planned work stoppage                           NO
              Comments:

                                    Hazardous Waste/Chemical Spills                                   Yes or No
              Close proximity to an industrial plant                                                     NO
              Proximity to transportation network that handles HAZMAT                                  3MILES
              Explain:




              Hazardous Materials/Chemicals are maintained on the institution grounds in
              large or volatile quantities that pose athreat.                                            NO
              Explain:



                                            Nuclear Catastrophe      -                                Yes or No
              Proximity to Nuclearfacility,                                           # miles
              Proximity to transportation network handling nuclear materials          # miles
              Comments:



                                               Structure Fire                                   I     Yes or No
          jJnstituliondesindoesromotefia[venn                                                            NO
           Buildingscontain avariety of combustible materials                                   I        NO
           Current lire prevention/protection measures are adequate.                                     NO
           Comments:



                                                 Utility Failure                                      Yes or No
              The institution has experienced frequent utility failures                                  NO
              Utility failures due to labor disputes or sabotage are likely due to design or
              placement issues                                                                           NO
              Back up utilities are not in place (or are not perceived as adequate) to keep     F
              the facility in operation in event of loss of power                                        NO
              Issues exists related to the provision of autility that is necessary for the
              institution to operate in wake of the loss of that source                                  NO

              The institution does not have an adequate alternative for drinking water in the
              event of contamination                                                                     NO
              Comments:

                                             Weather Threats                                          Yes or No
              Temperature extremes that the HVAC cannot handle leading to unsafe living
              conditions                                                                                NO
              Tornadoes and other violent storms frequent the area                                      YES
              Frequent hkjh winds and tS!c' 'u_                                                          N L.
              Winter conditions create fity
                                       acil  isolation                                          I       YES
              Comments:




                                                                12



1-lICINLY CONFIDENTIAL       -   ATTORNEYS' EYES Owl-V                                                          ADOC(DOJ)-TP-0000254
        Case 4:20-cv-02058-ACA                     Document 354-4                 Filed 03/03/25             Page 13 of 15

                                                                                                                                 Page 13o115
                                                                                                   A000 Institutional Vulnerability Analysis
                    SECTION III. DECLARED EMERGENCIES IN THE PAST YEAR


                                                           Provide Narrative for each

         1. One state of emergency was declared by the Governor due to snow and ice on roadways. The icy conditions prevented
         staff from reporting to work. The staff on duty had to remain in place until condition allowed relief staff to report to work.
         The facility was still fully operational. No essential operations of the facility were hindered by the event.




         2.




                                           SECTION IV. CRITICAL THREATS

         Use the information developed as a result of the information contained in Sections 1,11 and Ill to identify and list
         in order of priority the five most critical threats to the safe and orderly operation of your institution.

         Then take it one step further and provide acandid assessment of your level of preparedness to respond to the
         emergency as well as any existing factors which limit your ability to deal with the emergency.



         1. Staffing Shortage
         Assessment: The lack of an adequate number of correctional officers on post to patrol areas leaves inmates
                  unattended for long periods of time. It also hinders the ability of staff to respond to incident and be able
                  to control the situations. The inmate to officer ratio is too high during each shift. Many times there are
                  1300 inmate with only 30 correctional officers inside the facility 44:1 ratio on adaily basis. The ratio is
                  higher on the Night Shift.



         2. Weather events
         Assessment: Weather is unpredictable. During the Feb/March, severe tornados and snow/ice may strike the
                 area. The weather events are athreat because of their unpredictability and the paralyzing effect they
                 have on the facility and the surrounding area. When these extreme weather events occur it causes
                 staffing shortages to be exacerbated. It also isolates the facility due to its location. Although the facility
                 is self-sustaining in many ways, weather event make it more difficult to continue normal operations




         3. Tuberculosis (TB)
         Assessment: For six months or more the facility was vulnerable to infectious diseases within the facility. Due
                 to the way the disease spreaded it was dangerous to all persons inside the facility. The active disease
                 prevents the movement of inmates out of the facility, which in turns hinders the ability to transfer
                 inmates to other facilities for custody reductions, remove inmate enemies from the facility, assist other
                 facility by accepting higher level security inmates, etc. This situation is further exacerbated by the lack
                 of negative pressure housing areas.


                                                               13



HIGHLY CONFIDENTIAL       -   ATTORNEYS EYES ONLY                                                                  ADOC(DOJ)-TP-0000255
        Case 4:20-cv-02058-ACA                   Document 354-4                 Filed 03/03/25                  Page 14 of 15

                                                                                                                                    Paoel4cll5
                                                                                                      ADOC Institutional Vulnerability Analysis



         4.

         Assessment:

         5,
         Assessment:




          Institution or Division name: St. Clair Correctional Facility



         Date Risk Assessment Was Conducted:           February 24, 2015



                                 List of Individuals Who Participated in the Assessment Process:


           NAME                                                           TITLEIWORK AREA
           Carter F. Davenport                                            Warden Ill
           Eric Evans                                                     Warden II
           Karen Carter                                                   Warden I
           Carl Sanders                                                   Captain   -   Population
           Gary Malone                                                    Captain   -   Segregation
           Kenneth Peters                                                 Captain   -   Administration




                  Warden or Division Director                                                            Date




                                                             14



HIGHLY CONFIDENTIAL       -   ATTORNEYS EYES ONLY                                                                      ADOC(DOJ)-TP-0000256
        Case 4:20-cv-02058-ACA           Document 354-4            Filed 03/03/25              Page 15 of 15

                                                                                                       P.O. Ise l5
                                                                         ADOC Institutional Vulnerability Analysis

                                                       SECTION V

                                               GOALS (current year)


            1.   Increase security and support staffing



            2.   Have new security locks install on all locking mechanisms



            3.   Have security cameras install throughout the facility



            4.   Stop the introduction of contraband into the facility



            5.   Keep staff and inmates safe



            6,   Become PREA compliant



            7.   Concentrate more on rehabilitation to reintegrate inmates back into society.



            B,




                                                       15




HIGHLY CONFIDENTIAL   -   ATTORNEYS' EYES ONLY                                                        ADOC(DOJ)-TP-0000257
